                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       NO. 2:04-00017
                                              )       JUDGE CAMPBELL
LORENZO McMILLION                             )


                                             ORDER


       Pending before the Court is Defendant’s Motion to Modify Conditions of Supervised

Release (Docket No. 198). The Motion is GRANTED on the following terms.

       Defendant McMillion may travel to Atlanta, Georgia by car from May 18, 2013, to May

20, 2013. Defendant shall advise the Probation Office where he will be staying in Atlanta and

shall report to the Probation Office telephonically while in Atlanta on a schedule to be

determined by the Probation Office. Defendant’s curfew is changed to 10:00 p.m.

       All other conditions of Supervised Release remain unchanged. Defendant is forewarned

that any violations of his conditions of supervision are subject to further prosecution and

additional sentencing.

       IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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